Case No. 1:20-cv-00694-PAB-MDB Document 242-3 filed 12/02/22 USDC Colorado pg 1
                                    of 9




                             Exhibit 3
                          Remedy # 999324


                    Mostafa v. Garland, et al.,
              No. 20-cv-00694-PAB-SKC (D. Colo.)
Case No. 1:20-cv-00694-PAB-MDB Document 242-3 filed 12/02/22 USDC Colorado pg 2
                                    of 9




               Mostafa v. Garland, No. 20-cv-00694-PAB-SKC BOP000309
              Remedy Packets Provided to Plaintiff's Counsel
Case No. 1:20-cv-00694-PAB-MDB Document 242-3 filed 12/02/22 USDC Colorado pg 3
                                    of 9




               Mostafa v. Garland, No. 20-cv-00694-PAB-SKC BOP000310
              Remedy Packets Provided to Plaintiff's Counsel
Case No. 1:20-cv-00694-PAB-MDB Document 242-3 filed 12/02/22 USDC Colorado pg 4
                                    of 9




               Mostafa v. Garland, No. 20-cv-00694-PAB-SKC BOP000311
              Remedy Packets Provided to Plaintiff's Counsel
Case No. 1:20-cv-00694-PAB-MDB Document 242-3 filed 12/02/22 USDC Colorado pg 5
                                    of 9




               Mostafa v. Garland, No. 20-cv-00694-PAB-SKC BOP000312
              Remedy Packets Provided to Plaintiff's Counsel
Case No. 1:20-cv-00694-PAB-MDB Document 242-3 filed 12/02/22 USDC Colorado pg 6
                                    of 9




               Mostafa v. Garland, No. 20-cv-00694-PAB-SKC BOP000313
              Remedy Packets Provided to Plaintiff's Counsel
Case No. 1:20-cv-00694-PAB-MDB Document 242-3 filed 12/02/22 USDC Colorado pg 7
                                    of 9




               Mostafa v. Garland, No. 20-cv-00694-PAB-SKC BOP000314
              Remedy Packets Provided to Plaintiff's Counsel
Case No. 1:20-cv-00694-PAB-MDB Document 242-3 filed 12/02/22 USDC Colorado pg 8
                                    of 9




               Mostafa v. Garland, No. 20-cv-00694-PAB-SKC BOP000315
              Remedy Packets Provided to Plaintiff's Counsel
Case No. 1:20-cv-00694-PAB-MDB Document 242-3 filed 12/02/22 USDC Colorado pg 9
                                    of 9




               Mostafa v. Garland, No. 20-cv-00694-PAB-SKC BOP000316
              Remedy Packets Provided to Plaintiff's Counsel
